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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION

MARY LEE JOHNSON,
Plaintiff,

v. CASE NO. 5:15-CV-00297-RCL

SOUTHWEST RESEARCH INSTITUTE

UGR CGR COR UGR COD GOD OD CGD COD

Defendant.

DECLARATION UNDER PENALTY OF PERJURY OF COLIN W. WALSH

I, Colin W. Walsh, declare under penalty of perjury and state as follows:

L., My name is Colin W. Walsh. I am over the age of eighteen (18) years, of sound
mind, and fully capable of making this Declaration. I am fully competent to testify to the matters
stated in this Declaration, of which I have personal knowledge.

Professional Background

2D I graduated from the University of Texas School of Law with honors in May
2011. In August 2011, I began working as a law clerk for Rob Wiley, P.C., in Dallas, and
transitioned to an associate when I became licensed in Texas in November 2011. In 2012, the
firm opened an office in Austin, and Mr. Wiley sent me to be the lead attorney in that office. |
became a partner in November 2017, and the Austin office was separated from Rob Wiley, P.C.,
and became Wiley Walsh, P.C.

3. Rob Wiley, P.C., focused, and Wiley Walsh, P.C., continues to focus, on
representing plaintiffs in employment litigation. My work at the firms has been consistent with

that focus. In 2016, | became board certified in labor and employment law. Of the 100,000+

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lawyers licensed in Texas, only 675 are board-certified in that area of specialization, or less than
1 percent.

4, My trial and other litigation experience (other than this case) includes:

e Lynch vy. City of Austin, No. D-1-GN-12-00682 (261st District Court Travis County):
I served as plaintiff’s lead counsel at a four-day jury trial concerning disability discrimination
and wrongful termination. The jury awarded damages of $240,327; the judgment with fees and
costs was almost half a million dollars.

e Howard y. State of Texas, Texas Department of Family & Protective Services, No.
11-13467 (160th District Court Dallas County): I served as plaintiffs lead counsel at a five-day
jury trial against the Department of Family and Protective Services. The verdict for the client
was six figures, though it was reversed on appeal. 429 S.W.3d 782 (Tex. App.— Dallas 2014,
pet. denied).

e Wilsher, et al y. City of Abilene, No. 11-11-00355-CV, 2013 WL 6924004 (Tex.
App.—Eastland Dec. 31, 2013, pet. denied): Won appellate reversal of defendant’s summary
judgment and plea to the jurisdiction in a multi-plaintiff employment case against City of
Abilene. In this case, I also successfully argued for the extension of the federal single-filing rule
into multi-plaintiff state law claims, which had never been done before in state court in a non-
class case. The City appealed to the Texas Supreme Court, but the petition was denied.

e = Torres y. City of San Antonio, No. 04-15-00664-CV, 2016 WL 7119056 (Tex. App.-
San Antonio Dec. 7, 2016, no pet.): Won appellate reversal of summary judgment in a state law
whistleblower case against City of San Antonio.

e Dehrab, et al v. Cho et al., A-13-CV-100-LY, 2014 WL 12876395 (W.D. Texas May

30, 2014): Won conditional class certification as lead counsel in a wage theft case.

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e = Quinny. Texas State University, No. 03-16-00548-CV, 2016 WL 5985500 (Tex.
App.-Austin 2016, no pet.): Won affirmance of trial court's denial of defendant’s plea to the
jurisdiction in a disability discrimination and retaliation case against Texas State University. In
this case, I successfully defeated the novel argument that employees with term contracts cannot
suffer adverse actions in employment discrimination cases because term contracts do not have to
be renewed,

e Jiang vy. Texas Comm'n on Eny, Quality, 321 F. Supp. 3d 738 (W.D. Texas 2018):
Won denial of defendant’s motion for summary judgment on claims of discrimination and
retaliation.

5. | am a member of the National Employment Lawyers Association, the Texas
Employment Lawyers Association, the Austin Bar Association, and the Austin Young Lawyers
Association. I am a Fellow of the Austin Bar Foundation, and have been designated a Texas
Rising Star in employment law by Super Lawyers Magazine in 2015, 2016, 2017, 2018, and

2019.

6. During the 86th Regular Session (the current session) of the Texas Legislature, I
testified before the House Committee on State Affairs at the invitation of State Representative
Celia Israel as a subject-matter expert on the Texas Whistleblower Act. I have presented CLE at
conferences on employment law matters: “The Rights of Tipped Employees,” sponsored by the
Texas Employment Lawyers Association in 2013, and “Fifth Circuit Update,” sponsored by Rob
Wiley, P.C., in 2015.

Partner Kalandra N. Wheeler
7. Kalandra N. Wheeler graduated from the University of Arkansas School of Law

in 2005, and was licensed in Texas later the same year. She began her career as a lawyer at the

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The Coffey Firm in Fort Worth, where she represented criminal defendants from 2005 to 2014.
From 2014 to May 2019, she was an associate attorney employed by Rob Walsh, P.C. (and its
predecessor). She initially worked in the firm’s office in Dallas, but transferred in October 2016
to Houston. In May 2019, the Houston office was separated from Rob Wiley, P.C., and was
reorganized as Wiley Wheeler, P.C., of which Ms. Wheeler is one of the two partners.

8. I first brought Ms. Wheeler into this case in November 2015, when | needed
assistance with reviewing and editing my draft of the opposition to the defendant’s motion to
dismiss. I asked her to become involved again, as a member of my trial team, in early 2019 as it
became apparent that the case would go to trial in early April. Prior to trial, Ms. Wheeler and |
conducted the first focus group on January 30, 2019 in Austin, Texas. For the second focus
group, she prepared the mock defense arguments that Mr. Castellanos presented. She also
researched and drafted the response to Defendant’s Motion in Limine that I argued at the pretrial
conference on March 29. During trial, Ms. Wheeler helped determine and implement the trial
strategy. She conferred on jury selection and evidentiary issues, as well as conducted the cross-
examination of Anthony Magaro, our lead-off witness, and the direct examination of Stephen
Padilla, a former co-worker of Ms. Johnson. This is only a general summary of the non-
duplicative and reasonably necessary work that Ms. Wheeler contributed to this case; her specific
contributions are itemized in her time entries,

Associate Jairo N. Castellanos

9, Jairo N. Castellanos is an associate attorney employed by Wiley Walsh, P.C. (and
its predecessor) since he was licensed in Texas in November 2015. Previously, from September
2015, the firm employed him as a law clerk. He graduated in May 2015 from the University of

Texas Law School, where he served as editor in chief of the TEXAS HISPANIC JOURNAL OF LAW

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AND POLICY. Because of the firm’s active litigation practice, he has already served as second-
chair counsel in five trials, and was lead counsel for the firm’s client in a multi-day arbitration, in
which our client prevailed and received a six-figure arbitration award.

10. In late 2015 to early 2016, Mr. Castellanos performed a limited amount of work in
this case at my request, mainly in connection with responding to the motion to dismiss. In mid-
2017, I again asked for his assistance in connection with responding to the motion for summary
judgment. I asked him to become involved again, as a second chair of my trial team, in early
2019 as it became apparent that the case would go to trial in early April. Mr. Castellanos and I
conducted the second focus group of this case on March 18, 2019. Mr. Castellanos drafted the
voir dire questions that were submitted pretrial and used by the Court during voir dire. He
assisted in drafting objections to Defendant’s exhibit list. He also created the demonstrative
timeline used throughout the trial. During trial, Mr. Castellanos conducted two witness
examinations: the cross-examination of Nova Cooper, our second witness, and the direct
examination of Dave King, a former co-worker of Ms. Johnson. Mr. Castellanos also
participated in the charge conference and researched, drafted, and filed requested authority on
punitive damages with the help of Mr. Austin Campbell. This is only a general summary of the
non-duplicative and reasonably necessary work that Mr. Castellanos contributed to this case; his
specific contributions are itemized in her time entries.

Associate Gregory A. Placzek

11. Gregory A. Placzek performed work on this case when it was at the EEOC stage,
from September 2012 to May 2015. Mr. Placzek graduated from the Southern Methodist
University Dedman School of Law in May 2009. He was ranked sixth in a class of 306 students,

and was a member of the Order of the Coif. He became licensed in Texas in 2009, and began

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working for Rob Wiley, P.C. in 2009. He was licensed in Missouri in 2010. He left Rob Wiley,
P.C., in 2015 and, in 2017, he opened the Placzek Law Firm, PLLC, in Fayetteville, Arkansas.
The Firm’s Rates

12. My current hourly rate—a rate that clients pay me when they choose
representation on an hourly basis rather than on a contingency fee basis—is $585/hour. | charge
and receive this rate in the Austin market (where I office) avd in the San Antonio market (where
I frequently have clients). I have been charging this rate since January 2019. Before that, I
charged $565/hour beginning on April 5, 2018; before that, I charged $550/hour beginning in
November 2017 (when I became partner); and before that, I charged $350/hour. My rate of
$350/hour was in effect when, in June 2015, I first began charging time in this case. The rates
claimed in this motion for my time are the rates that were in effect when the work was
performed. All of these rates are reasonable for the times they were in effect.

13, The firm’s hourly rate for Kalandra N. Wheeler, who became a partner shortly
after the trial of this case, is also currently (since January 2019, when she became board certified
in labor and employment law) $585/hour. This is the rate this firm charged and received for Ms.
Wheeler’s time in the San Antonio market. None of Ms. Wheeler’s time in this case was charged
before January 2019, with the exception of 1.90 hours on November 10, 2015, when the firm
charged her time at $350/hour. The rates claimed in this motion for Ms. Wheeler’s time are the
rates that were in effect when the work was performed. All of these rates are reasonable for the
times they were in effect.

14. The firm’s current (since January 2017) rate for associate Jairo N. Castellano is
$395/hour. This is the rate the firm charges and receives for Mr. Castellanos’s time in the San

Antonio market. Previously, the firm’s rate for him has been $350/hour (all of 2016), $250/hour

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(Nov. 6, 2015-Dec. 31, 2015). The rates claimed in this motion for his time are the rates that
were in effect when the work was performed. All of these rates are reasonable for the times they
were in effect. The firm also employed Mr. Castellanos as a law clerk and billed his time at the
rate of $125/hour while he was in that status (September 2015-Nov. 5, 2015). It is reasonable and
customary in the San Antonio legal market to charge time for non-lawyer paraprofessionals such
as law clerks, and the rate of $125/hour for Mr. Castellanos was reasonable when it was in effect.

LS. Gregory A. Placzek is not currently associated with Wiley Walsh, P.C. When he
worked for the predecessor firm and charged time in this matter (Sept. 17, 2012-May 8, 2015),
his rate ranged from $300/hour to $350/hour, and these rates were reasonable when they were in
effect. He currently practices in Arkansas, so his current hourly rate is not indicative of what it
would be in the San Antonio market. His rate now in the San Antonio market, based on the
qualifications he possessed when he charged time in this matter, would be $395/hour, but the
firm has elected in this motion to seek fees for his time at $350/hour, which is a reasonable rate.

Exhibit 2 and Timekeeping Practices

16. | Throughout the years this case has been handled by this firm and its predecessor,
the firms’ policy has been that all timekeepers (attorneys and para-professionals) must record
their time contemporaneously to a tenth of an hour with electronic time-keeping programs that
mark when work begins and ends, along with descriptions of the work performed. It has been my
practice to comply with that policy, and | am confident the other timekeepers in this case also
complied with that policy. These timekeeping records constitute Exhibit 2 to the motion for
reasonable fees and costs (except for those of “REM”: Mr. McKnight, whom | will discuss
below), and | affirm that they are a true and correct billing record of the time the lawyers and

para-professionals at my firm spent on this case: the hours shown on Exhibit 2 as having been

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expended by firm’s timekeepers were actually expended on the topics stated. ‘These
contemporaneous time records have been checked against other “‘contemporaneous records,
briefs or memoranda to ensure against recording errors,’” Cobell v. Norton, 407 F. Supp. 2d 140,
155 (D.D.C. 2005), and have been edited for clarity and completeness so as “to allow ‘this Court
to make an informed decision about the relevance and appropriateness of the entry.” /d. To the
extent the hours have not been reduced in the exercise of billing judgment, these hours were
reasonable for the work of representing our client in this matter.

Lis Exhibit 2 also includes the time entries of Robert E. McKnight, Jr. Mr. McKnight
has a well-earned reputation for assisting the counsel of prevailing plaintiffs in preparing and
submitting motion for reasonable attorney’s fees and costs. I have not previously submitted such
a motion in federal court and so I asked him to do the work that 1 would have taken much longer
to perform on my own. Mr. McKnight has provided his own testimony in support of Ms.
Johnson’s fee motion to explain his timekeeping practices, to aver the accuracy and
reasonableness of his entries in Exhibit 2, and to state a reasonable rate for his compensation.

Billing Judgment

18. The plaintiff in this case was enormously successful. She claimed sex
discrimination with respect to pay, promotion, and tuition reimbursement (Doc. | at § 43), and
retaliatory termination (id. at JJ 45-47). The monetary award totals $550,914.94, plus the
plaintiff has received the value of prospective equitable relief to remedy the retaliatory
termination. (Doc. 149 at 7-11).

19. The retaliation claim triggered a barrage of unsuccessful defensive filings based
on the Egan doctrine and 42 U.S.C. § 2000e-2(g). First was a motion to dismiss (Doc. 11), and

related motions to delay discovery pending resolution of that motion (Docs. 12 and 16), all of

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which the plaintiff opposed (Docs. 13, 17 and 25). The Magistrate Judge recommended denial of
the motion to dismiss (Doc. 28), as to which the defendant’s objections (Doc. 30) triggered more
briefing by the plaintiff (Doc. 37) before the Court adopted the recommendations (Doc. 52,
published at 210 F. Supp. 3d 863 (W.D. Texas 2016)). Second, the defendant moved for
summary judgment based on Egan and § 2000e-2(g). (Doc. 68 at 16.) The plaintiff opposed
(Doc. 75), but again the Magistrate Judge recommended denial of the motion with respect to that
claim (Doc. 84). And once again, the defendant’s objections (Doc. 86) triggered more briefing by
the plaintiff (Doc. 88) before the Court adopted the recommendation (Doc. 90), to which the
defendant responded by moving for an interlocutory appeal (Doc. 91), which of course triggered
more briefing by the plaintiff (Doc. 93) before the Court denied the motion (Doc. 97).
Successfully opposing the defendant’s pretrial dispositive motions took approximately 235
hours, according to the total-of-hours chart in Exhibit 2 for the motion to dismiss and the motion
for summary judgment.

20. In addition to the time my colleagues and | had to spend to defeat the defendant’s
unsuccessful dispositive motions, the defendant’s discovery practices necessitated filing three
motions to compel (Docs. 31, 47, and 57), each of which was granted in part (Docs. 42, 50, and
62). The plaintiff, on the other hand, took no provocative positions in discovery: our side
fulfilled the defendant’s requests and no motions were filed against the plaintiff. The only
problems that increased the time spent on discovery on this case arose from the defendant’s side.
Nor did we waste time on discovery: the plaintiff deposed only the defendant under Rule

30(b)(6), for which there were two designees, both deposed in one day, and one other witness

(Nova Cooper).

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21. ‘The retaliation claim went to the jury, which found in the plaintiff's favor under
the but-for standard of 42 U.S.C. § 2000e-3(a). (Doc. 142 at 1.) Even after the verdict, the
defendant’s disagreement over equitable relief to remedy the retaliatory termination required
more briefing (Docs. 143 and 145), but the Court granted it (Doc. 149 at 7-11).

22, With respect to the plaintiffs sex discrimination claims (pay, promotion, and
tuition reimbursement (Doc. | at § 43)), the Court granted summary judgment against the
promotion claim (Doc. 90 at 3), and the plaintiff made a strategic decision to stipulate to
dismissal of the pay claim (Doc. 118). The jury found for the plaintiff on the tuition
reimbursement claim under the motivating factor standard of 42 U.S.C. § 2000e-2(m), and the
defendant failed under § 2000e-5(g)(2)(B) to prove it would have taken the same action in the
absence of her sex. (Doc. 142 at I.)

23. The factual overlap between the unsuccessful promotion claim and the successful
tuition claim was almost complete. The promotion claim was based on Ms. Johnson’s contention
that she had been promised priority consideration for a promotion to engineering technologist
once she got her bachelor’s degree. Her internal complaint about tuition reimbursement included
reference to the promotion issue, and the defendant investigated both in the same investigation.
In fact, many trial exhibits (such as P-10, P-31, D-27, D-41, and D-55), as well as some trial
testimony referenced both the tuition and promotion claims. | estimate that not more than about
10 hours were spent solely on the promotion issue. Despite the entwinement of these issues, I
have deducted 10 hours from my total hours. This deduction is shown in Exhibit 2.

24. The pay claim also substantially overlapped with the tuition reimbursement claim,
as evidenced by the fact that some trial exhibits (including P-10, P-31, and D-55), as well as

some trial testimony referenced both claims. I estimate that not more than about 20 hours were

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spent solely on the pay issue, and I have deducted those hours as shown on Exhibit 2, despite the
entwinement of the pay and tuition reimbursement issues.

25. Based on the two liability findings (the only ones submitted to the jury: the jury
did not reject any of plaintiffs liability claims), the jury awarded back pay of $335,624 less a
reduction of $185,624 for failure to mitigate, leaving a net back pay award of $150,000. (Doc.
142 at 2-3.) It also awarded $200,000 for past compensatory damages and $60,000 for future
compensatory damages. (Doc. 142 at 2.) The Court allowed prejudgment interest on the
compensatory award to bring that award up to the statutory cap of $300,000, and added post-
judgment interest. (Doc. 149 at 4.) Augmented by prejudgment interest, the back-pay award was
adjudged to be $205,828.77, plus post-judgment interest. (/d. at 6.) The Court also awarded front
pay in the amount of $45,086.17, plus prejudgment interest. (/d. at 7.) The monetary award
totals $550,914.94, plus the plaintiff has received the value of equitable relief to remedy the
retaliatory termination. (Doc. 149 at 7-11).

26. Against this backdrop, I have exercised billing judgment, and my exercise of
billing judgment is noted on Exhibit 2 in two ways: (1) when time is reduced or eliminated in
discrete entries, the fact of the reduction is made plain in the task description by the inclusion of
the word “reduced ” in green ink; and (2) the reduction of my estimate of the amount of time
spent litigating only to promotion or pay claim, as described in paragraphs 23 and 24, is made in
Exhibit 2 after the compilation of time entries.

27. Regarding item (1): I have reduced or eliminated time for discrete tasks for a
variety of reasons, such as:

t This motion does not seek recovery for work provided by associate attorneys

Allison Reppond, Austin Campbell, Fadi Yousef, and Julie St. John. All of them provided

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valuable, non-duplicative assistance to me, and their work was reasonably necessary to
representing Ms. Johnson. Nonetheless, I have decided not to seek compensation for their time.

* On some occasions, I noted what I deemed to be excessive time recorded by Ms.
Wheeler or Mr. Castellanos for certain tasks. I attribute those occasions to the fact that neither
was as familiar as I was with the facts and the posture of this case. To correct for that, I reduced
the entries | deemed excessive.

* There was not a great deal of time spent in this case on inter-office conferences
because so much of the work was handled by me alone. When assistance became necessary,
conferencing became necessary. Nonetheless, I have sought compensation for only one
participant in inter-office conferences, for the most part, rather than compensation for both or all
participants.

* I eliminated time spent in November-December 2015 on seeking a change to the
scheduling order, since I decided not to pursue a change.

* Travel time, to the extent it was not productively spent working on this case, has
been reduced by one-half of the actual travel time.

* Because of the pervasive importance of the #gan doctrine in this case, Mr.
Placzek first set Westlaw to alert us every time an Egan case became available. There are
numerous entries in Exhibit 2 that document my review of these Egan cases (once ] assumed
responsibility for the case). While it was reasonably necessary for me to be thoroughly familiar
with Egan cases, | have eliminated all such time from this request.

28. Because my firm occasionally employs law clerks and generally does not employ
paralegals, I sometimes perform work that could be delegated to para-professionals. I generally

do not record that time, but sometimes | do and for that reason I have been careful to scrutinize

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all my firm’s time entries in Exhibit 2 in order to reduce or eliminate time on non-lawyer tasks,
Such tasks | have observed in Exhibit 2 include certain document preparation tasks (e.g.,
formatting tables in the plaintiff's response to the motion for summary judgment), and arranging
and scheduling, for example, depositions. Also, | have reduced by 0.20 hour the time entries that
include a reference to filing a document in the Court’s CM/ECF system; | believe 0.20 is a
generous estimate of the non-attorney time it takes to file a document. The exception to this
approach is for a handful of entries that include preparing a document and filing it, when the time
entry is already 0.20 or 0.10 and is consistent with the amount of time it would have taken to
prepare the document.

29. Regarding item (2): These reductions of 10 hours and 20 hours (discussed supra
{4 23 and 24, respectively) do not apply to any specific time entry, so they are discussed in
Exhibit 2 after the compilation of time entries, under the heading “Additional Reduction for
CWW Time.” The question here is how to value the hours, given my decision to seek
compensation at historical rates rather than current rates (the reason for which decision I discuss
below). I hereby affirm the valuation provided in Exhibit 2 under the heading “Additional
Reduction for CWW Time.”

30. As aresult of these exercises in billing judgment, I affirm that all of the hours
expended for which compensation is sought in this motion were reasonably expended.

31. I have chosen to bill time at historical rates, rather than solely at current rates,
without any provision for offsetting the delay in payment. Though fee motions typically request

payment at current rates rather than historical rates to compensate for delay in payment,! I

 

' Missouri v. Jenkins, 491 U.S, 274, 283-84 (1989) (“|C]ompensation received several
years after the services were rendered ... is not equivalent to the same dollar amount received
reasonably promptly as the legal services are performed .... We agree, therefore, that an

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acknowledge that my rate has risen steeply over the four years I’ve worked on this case. This has
happened for at least three reasons: I started as an associate with less than four years of practice,
but ended after having become a partner at my firm; I acquired board certification in labor and
employment law; I have exhibited a record of success. Nonetheless, I acknowledge that
compensation for all of my hours in this case at my current rate would probably over-compensate
for the delay in payment, so I have chosen to use my historical rates. If all my time were
compensated at my current rate, I would request $349,420.50 (not including the other
timekeepers), instead of my actual request of $274,486. Further, | have not asked for interest or
some other way to compensate for the delay of payment for work that was performed as long ago
as 2015. I have taken the same approach with the billing for Ms. Wheeler, Mr. Castellanos, and
Mr. Placzek.
Costs

a2 The plaintiff incurred recoverable costs through this firm (and its predecessor).
These costs are itemized by category and totaled in Exhibit 3. I have reviewed these costs in
Exhibit 3 and hereby certify that all of the costs for items and services reflected there were
actually and necessarily expended. All of these costs are of the type that are normally charged to
this firm’s (and its predecessor’s) fee-paying clients.

I declare under penalty of perjury that the foregoing is true and correct. Executed on June

LA ABA

COLIN W. WALSH

6, 2019.

 

appropriate adjustment for delay in payment— whether by the application of current rates rather
than historic hourly rates or otherwise—is within the contemplation of the statute [§ 1988].”).

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